                                                       Case 3:20-cv-00271-MMD-WGC Document 15 Filed 05/13/20 Page 1 of 14




                                                  1 KEVIN BENSON, ESQ.
                                                    Nevada State Bar No. 9970
                                                  2 BENSON LAW, LLC.
                                                    123 W. Nye Lane, Suite #487
                                                  3
                                                    Carson City, NV 89706
                                                  4 Telephone: (775) 884-0838
                                                    Email: kevin@bensonlawnv.com
                                                  5
                                                    MATTHEW M. GRIFFIN, ESQ.
                                                  6 Nevada State Bar No. 8097
                                                  7 Matthew Griffin, PLLC
                                                    401 S. Curry Street
                                                  8 Carson City, NV 89703
                                                    Telephone: (775) 882-4002
                                                  9 Attorneys for Plaintiff
                                                 10
                                                 11                                 UNITED STATES DISTRICT COURT

                                                 12                                         DISTRICT OF NEVADA
                                                 13
                    123 W. Nye Lane, Suite 478
BENSON LAW NEVADA

                      Carson City, NV 89706




                                                 14
                          (775) 884-0838




                                                 15    FAIR MAPS NEVADA, et al.,                              Case No.: 3:20-cv-00271

                                                 16                          Plaintiffs,
                                                              v.
                                                 17
                                                 18    BARBARA CEGAVSKE, in her official                             MOTION TO INTERVENE
                                                       capacity as Nevada Secretary of State, et al.,
                                                 19
                                                                              Defendants.
                                                 20
                                                 21
                                                 22         The REV. LEONARD JACKSON, a Nevada registered voter, and NEVADA RESORT
                                                 23 ASSOCIATION PAC, a registered Nevada Political Action Committee, by and through counsel, Matt
                                                 24 Griffin, Esq. of Matthew Griffin PLLC and Kevin Benson, Esq. of Benson Law, LLC, respectfully
                                                 25 move to intervene as defendants in this action pursuant to Fed.R.Civ.P. 24.
                                                 26                                         I.     INTRODUCTION

                                                 27         Rev. Jackson and the Nevada Resort Association PAC (“NRA PAC”) (together, “Proposed

                                                 28 Intervenors”) move to intervene as defendants in this action to protect their interests in preserving the

                                                                                                          1
                                                        Case 3:20-cv-00271-MMD-WGC Document 15 Filed 05/13/20 Page 2 of 14




                                                  1 integrity of Nevada’s initiative petition process. Plaintiffs are requesting this Court to enter
                                                  2 extraordinary and broad relief that will substantially alter and undermine Nevada’s laws governing
                                                  3 qualification of ballot measures. For example, they request that the Court force election officials to
                                                  4 accept electronic signatures on a petition. This would be in direct contravention of Nevada’s statutes
                                                  5 governing circulation of petitions, which were specifically designed to prevent fraud in the signature
                                                  6 collection process.
                                                  7         “There is no First Amendment right to place an initiative on the ballot.” Angle v. Miller, 673
                                                  8 F.3d 1122, 1133 (9th Cir. 2012). Legislating by ballot initiative is a state-created right. Id. “States
                                                  9 allowing ballot initiatives have considerable leeway to protect the integrity and reliability of the
                                                 10 initiative process, as they have with respect to election processes generally.” Buckley v. Am.
                                                 11 Constitutional Law Found., Inc., 525 U.S. 182, 191 (1999).
                                                 12         Pursuant to Nevada law, it is private parties such as Rev. Jackson and NRA PAC, not election
                                                 13 officials, who must bring a civil lawsuit to challenge the legal sufficiency of a petition, including to
                    123 W. Nye Lane, Suite 478
BENSON LAW NEVADA

                      Carson City, NV 89706




                                                 14 correct problems with the petition itself or with circulation issues like fraudulent signatures. Both
                          (775) 884-0838




                                                 15 Rev. Jackson and NRA PAC have been and currently are engaged in such litigation in Nevada’s state
                                                 16 courts.
                                                 17         The relief Plaintiffs request from this Court would effectively gut the safeguards in Nevada
                                                 18 law, and will very likely to destroy Proposed Intervenors’ statutory rights challenge invalid or
                                                 19 fraudulent signatures, opening the door to exactly the kind of fraud that Nevada’s statutes were
                                                 20 crafted to prevent.
                                                 21         The Court should therefore grant Rev. Jackson and NRA PAC the ability to intervene as
                                                 22 defendants to protect their interest in the integrity of Nevada’s initiative process.
                                                 23                                                   II.   FACTS
                                                 24           Nevada, like all states that permit legislation through initiative, imposes various requirements
                                                 25 to ensure that the initiative process is fair and that initiatives that are placed on the ballot have met a
                                                 26 certain threshold of voter support. For example, NRS 295.009(1)(a) limits an initiative petition to a
                                                 27 single subject. NRS 295.009(1)(b) requires every initiative to contain a description of effect that
                                                 28 explains to voters, in an accurate and non-misleading way, what the initiative will do. A third

                                                                                                            2
                                                        Case 3:20-cv-00271-MMD-WGC Document 15 Filed 05/13/20 Page 3 of 14




                                                  1 example is NRS 295.012, which requires signatures to be obtained in all of Nevada’s congressional
                                                  2 districts, to ensure that a statewide initiative truly has statewide support.
                                                  3          However, the Secretary of State and local election officials do not enforce all of these
                                                  4 requirements. Compliance with many of Nevada’s initiative petition requirements is achieved
                                                  5 through challenges filed by private parties. See e.g., NRS 295.061(1) (authorizing an expedited civil
                                                  6 action to challenge a petition’s compliance with the single subject rule and the description of effect
                                                  7 requirement); NRS 295.061(2) (authorizing an expedited civil action to challenge the legal
                                                  8 sufficiency of a petition after it is certified as sufficient by the Secretary of State).
                                                  9          Private parties who have an interest in the subject matter of the petition must bring a lawsuit
                                                 10 to ensure compliance. Thus, even if an initiative petition blatantly violates the single subject rule, if
                                                 11 no one files a challenge, it will be placed on the ballot. Similarly, even if there is a substantial number
                                                 12 of fraudulent signatures, a petition can qualify if no one files a lawsuit that exposes the fraud.
                                                 13 However, such suits can be costly. Proposed Intervenors have already expended resources to bring
                    123 W. Nye Lane, Suite 478
BENSON LAW NEVADA

                      Carson City, NV 89706




                                                 14 such suits and intend to expend more resources, if necessary, after signatures are submitted for
                          (775) 884-0838




                                                 15 verification.
                                                 16          Proposed Intervenor Nevada Resort Association PAC represents gaming and resort properties
                                                 17 in Nevada. Declaration of Virginia Valentine, attached hereto as “Exhibit 1.” Gaming is, of course, a
                                                 18 large part of Nevada’s economy. Consequently, initiative petitions that would impact the industry are
                                                 19 frequently proposed. Id. Part of NRA PAC’s core functions is to monitor efforts to qualify ballot
                                                 20 measures to ensure that they comply with Nevada’s requirements. Id. As part of its normal
                                                 21 operations, NRA PAC spends resources to monitor initiatives, and to challenge those that do not
                                                 22 comply with Nevada law, when believes it is in the best interest of the association to do so. Id. An
                                                 23 initiative petition that would increase the gaming taxes on certain properties is currently being
                                                 24 circulated. Id. NRA PAC is currently challenging that initiative on the basis that it does not comply
                                                 25 with the description of effect requirement in NRS 295.009(1)(b), and that case is currently pending at
                                                 26 the Nevada Supreme Court. Id.; see also Nevada Supreme Court Case No. 81086.
                                                 27          Proposed Intervenor Rev. Jackson is a registered Nevada voter. Declaration of Rev. Jackson,

                                                 28 attached hereto as “Exhibit 2.” He has an interest in ensuring that only initiatives that comply with

                                                                                                            3
                                                        Case 3:20-cv-00271-MMD-WGC Document 15 Filed 05/13/20 Page 4 of 14




                                                  1 Nevada law are placed on the ballot. Id. He brought an action in state court against Plaintiff Fair
                                                  2 Maps Nevada PAC, asserting that the description of effect in Fair Maps’ petition is inaccurate and
                                                  3 materially misleading to voters, in violation of NRS 295.009(1)(b). Id. That case is now on appeal
                                                  4 and is currently pending before the Nevada Supreme Court. Id.; see also Case No. 80563. He will be
                                                  5 harmed if the deadline to gather signatures on that petition is extended because that would impair his
                                                  6 ability to challenge the sufficiency of the signatures on the petition. Id. The genuineness of the
                                                  7 signatures will be placed into serious question if the Court allows Plaintiffs to collect electronic
                                                  8 signatures. Rev. Jackson will be harmed if a petition that does not comply with Nevada law is
                                                  9 nevertheless allowed to be placed on the ballot because he would have to expend resources in a
                                                 10 campaign that, had the law been followed, would never have occurred. Id.
                                                 11                             III. LEGAL STANDARD FOR INTERVENTION
                                                 12           FRCP 24(a) permits a non-party to intervene as a matter of right upon a showing of four
                                                 13 factors: “(1) it has a 'significant protectable interest' relating to the property or transaction that is the
                    123 W. Nye Lane, Suite 478
BENSON LAW NEVADA

                      Carson City, NV 89706




                                                 14 subject of the action; (2) the disposition of the action may, as a practical matter, impair or impede the
                          (775) 884-0838




                                                 15 applicant’s ability to protect its interest; (3) the application is timely; and (4) the existing parties may
                                                 16 not adequately represent the applicant’s interest.” United States v. Sprint Communs., Inc., 855 F.3d
                                                 17 985, 991 (9th Cir. 2017).
                                                 18           Under FRCP 24(b), the court “may permit anyone to intervene who . . . (B) has a claim or
                                                 19 defense that shares with the main action a common question of law or fact.” Blum v. Merrill Lynch
                                                 20 Pierce Fenner & Smith Inc., 712 F.3d 1349, 1353 (9th Cir. 2013) (quoting Fed. R. Civ. P. 24(b)(1)).
                                                 21 Generally, permissive intervention under Rule 24(b) should be allowed where: (1) there is an
                                                 22 independent ground for jurisdiction; (2) the motion is timely; and (3) “a common question of law and
                                                 23 fact between the movant's claim or defense and the main action.” Id.
                                                 24           “Rule 24 traditionally receives liberal construction in favor of applicants for intervention.”
                                                 25 Arakaki v. Cayetano, 324 F.3d 1078, 1083 (9th Cir. 2003).
                                                 26 / / / /
                                                 27 / / / /
                                                 28 / / / /

                                                                                                            4
                                                        Case 3:20-cv-00271-MMD-WGC Document 15 Filed 05/13/20 Page 5 of 14




                                                  1                                                IV. ARGUMENT
                                                  2      A. Proposed Intervenors are entitled to intervention as a matter of right.
                                                  3         Rev. Jackson and NRA PAC are entitled to intervene as a matter of right because they satisfy
                                                  4 all four of the criteria required in this Circuit.
                                                  5          1. This Motion is timely.
                                                  6         This Motion is timely because it has been filed only 7 days after the Complaint was filed in
                                                  7 this case, and before the May 15, 2020 deadline the Court set for oppositions to the Plaintiffs’ Motion
                                                  8 for Preliminary Injunction. See Order, ECF #6.
                                                  9          2. Proposed Intervenors have a significant protectable interest in the subject of this action.
                                                 10         A person has a “significant protectable interest” in an action if: “(1) [the applicant] asserts an
                                                 11 interest that is protected under some law, and (2) there is a 'relationship' between [the applicant's]
                                                 12 legally protected interest and the plaintiff's claims." Sprint, 855 F.3d at 991. The question of whether
                                                 13 there is a “relationship” between the applicant’s interest and the plaintiff’s claims is intended to be a
                    123 W. Nye Lane, Suite 478
BENSON LAW NEVADA




                                                 14 practical inquiry. United States v. City of L.A., 288 F.3d 391, 398 (9th Cir. 2002). “The ‘interest’ test
                      Carson City, NV 89706
                          (775) 884-0838




                                                 15 is not a clear-cut or bright-line rule, because ‘no specific legal or equitable interest need be
                                                 16 established.’” Id. While not bright-line requirement, the relationship requirement is met if the
                                                 17 plaintiff’s claims will actually affect the applicant. Id.
                                                 18         Proposed Intervenors have legally protected interests in the integrity of Nevada’s initiative
                                                 19 petition process. These include, but are not limited to, the requirements that signatures be submitted
                                                 20 for verification in a timely manner, and the enforcement of the laws that are designed to prevent fraud
                                                 21 in signature gathering.
                                                 22         Under Nevada law, each of the county clerks verify a random sampling of the signatures on a
                                                 23 statewide petition. The clerks review whether the signer is as registered voter, whether the signature
                                                 24 matches the voter’s registration file, whether the signer is a resident of the county, among other
                                                 25 things. See NRS 293.12757 – 293.12795 (setting forth the process for verification of signatures and
                                                 26 determination of sufficiency by the Secretary of State).
                                                 27         The clerks also review the circulator’s affidavit to ensure that contains the necessary

                                                 28 information. For example, NRS 295.0575(1) requires an affidavit that “the circulator personally

                                                                                                           5
                                                        Case 3:20-cv-00271-MMD-WGC Document 15 Filed 05/13/20 Page 6 of 14




                                                  1 circulated the document.” (Emphasis added.) It also requires the circulator to attest that “all the
                                                  2 signatures were affixed in the circulator’s presence.” NRS 295.0575(5). These requirements exist to
                                                  3 combat fraud in the signature gathering process. See Minutes of the Assembly Committee on
                                                  4 Elections, Procedures, Ethics, and Constitutional Amendments Hearing on A.B. 604, p. 23 (Nev.,
                                                  5 April 5, 2007) (testimony regarding “massive fraud” and recounting a “signature party” at which over
                                                  6 100 people forged signatures on petitions); Las Vegas Convention & Visitors Auth. v. Miller, 124
                                                  7 Nev. 669, 694, 191 P.3d 1138, 1154 (2008) (recognizing that the requirements for the circulator’s
                                                  8 affidavit are intended to combat fraud in the signature collection process).
                                                  9         Based on their review of a random sample of signatures, the clerks use extrapolation to
                                                 10 determine the total number of valid signatures in their respective counties, then forward those
                                                 11 numbers to the Secretary of State. The Secretary of State then determines whether the petition has
                                                 12 sufficient signatures statewide to qualify for the ballot.
                                                 13         NRS 293.12793 provides for an administrative appeal process for the proponent of a petition,
                    123 W. Nye Lane, Suite 478
BENSON LAW NEVADA

                      Carson City, NV 89706




                                                 14 if the Secretary of State finds that the number of signatures is insufficient. There is no similar process
                          (775) 884-0838




                                                 15 to appeal a determination that the number is sufficient. If the Secretary of State determines that the
                                                 16 petition is sufficient, the only way to challenge that determination is for a private party to bring a civil
                                                 17 action under NRS 295.061(2). Thus, if there was fraud in the circulation process, or if there were
                                                 18 errors in the clerks’ verification process, the only way to correct those problems is for a private party
                                                 19 such as the Proposed Intervenors to bring a lawsuit to expose the issues, and for a court to determine
                                                 20 the remedy.
                                                 21         If the Plaintiffs are permitted to electronically gather signatures, this would directly contravene
                                                 22 clear requirements of Nevada law. It would open the door to exactly the kind of “massive fraud” that
                                                 23 the statutes were intended to prevent. Additionally, the Court would have to require an entirely new
                                                 24 and untested method of verifying electronic signatures. This will inject additional uncertainty and
                                                 25 error into the signature verification process itself. This threatens Proposed Intervenors’ interest in the
                                                 26 integrity of the election process. It could allow Plaintiffs to qualify a petition through improper or
                                                 27 unreliable means, requiring Proposed Intervenors to mount a campaign against the initiative which
                                                 28 they would not be required to do if the law had been followed.

                                                                                                           6
                                                       Case 3:20-cv-00271-MMD-WGC Document 15 Filed 05/13/20 Page 7 of 14




                                                  1         Proposed Intervenors also have a substantial interest in this action because extending the
                                                  2 deadline to gather signatures would impede or preclude their statutory right to challenge the
                                                  3 sufficiency of the petition. NRS 295.056 requires that, for constitutional amendments, the deadline to
                                                  4 submit signatures for verification is the 15th day following the primary election, and for statutory
                                                  5 amendments, the deadline is the 15th day following the general election. These deadlines allow each
                                                  6 county the time necessary to go through the process of verifying the signatures. Furthermore, under
                                                  7 federal law, ballots must be prepared and distributed to overseas and military voters at least 45 days
                                                  8 before the election. 52 U.S.C. §§ 20302; see also NRS 293.309(2)(b). If a court challenge is pending
                                                  9 that would cause any delay in that process, Nevada declares such challenges to be moot. NRS
                                                 10 293.309(3).
                                                 11         Consequently, if the deadline is extended to gather signatures, it is very likely that the
                                                 12 Secretary of State will prepare, print, and distribute the ballots before the courts are able to resolve
                                                 13 any challenge to the sufficiency of the petition, rendering the challenge moot. Accordingly, as a
                    123 W. Nye Lane, Suite 478
BENSON LAW NEVADA

                      Carson City, NV 89706




                                                 14 practical matter, Proposed Intervenors are likely to lose their right to challenge the sufficiency of the
                          (775) 884-0838




                                                 15 petition because there simply would not be enough time. This could allow an initiative to be placed
                                                 16 on the ballot despite obvious fraud or errors in the signatures.
                                                 17         The risk of this occurring is especially high if the Court were to also allow electronic
                                                 18 signatures or other novel, untested methods of signature gathering, because that would make it much
                                                 19 more likely that a petition would contain a substantial number of fraudulent or invalid signatures. IT
                                                 20 would also make it much more likely that the clerks were make mistakes in whatever new
                                                 21 verification process is required. Yet there would be no time for vetting or challenging those
                                                 22 signatures.
                                                 23         These adverse effects on Proposed Intervenors’ statutory rights under Nevada law are more
                                                 24 than sufficient to meet the “significant protectable interest” requirement for intervention as of right.
                                                 25 In City of L.A., the Ninth Circuit found that a police officer’s union met this requirement because the
                                                 26 complaint sought injunctive relief against its members and alleged facts that its members committed
                                                 27 unconstitutional acts in the line of duty. 288 F.3d at 398-99. The court held that this was sufficient
                                                 28 even though the proposed injunctive relief applied only to the city defendants, not the union itself. Id.

                                                                                                         7
                                                        Case 3:20-cv-00271-MMD-WGC Document 15 Filed 05/13/20 Page 8 of 14




                                                  1 Similarly here, even though the Plaintiffs are seeking relief against the Secretary of State and the
                                                  2 county election officials, Proposed Intervenors stand to lose their own rights under Nevada law if the
                                                  3 relief is granted.
                                                  4
                                                             3. Disposition of the matter without intervention will impair Proposed Intervenor’s ability to
                                                  5             protect their interests.

                                                  6         “If an absentee would be substantially affected in a practical sense by the determination made
                                                  7 in an action, he should, as a general rule, be entitled to intervene.” Citizens for Balanced Use v. Mont.
                                                  8 Wilderness Ass'n, 647 F.3d 893, 898 (9th Cir. 2011) (internal quotations omitted).
                                                  9         As discussed to above, Proposed Intervenors’ ability to protect their interests will be impaired
                                                 10 if they are not permitted to intervene. They have a right to not be subjected to laws made through a
                                                 11 fraudulent or invalid initiative petition, and they also have a right to bring challenges to petitions that
                                                 12 fail to comply with Nevada law. Indeed, both Proposed Intervenors are currently parties to pending
                                                 13 lawsuits challenging the validity of initiative petitions. These suits are authorized by NRS 295.061
                    123 W. Nye Lane, Suite 478
BENSON LAW NEVADA




                                                 14 and are the only method of ensuring compliance with many of Nevada’s requirements for initiative
                      Carson City, NV 89706
                          (775) 884-0838




                                                 15 petitions.
                                                 16          4. The existing Defendants do not adequately represent the Proposed Intervenors’ interests.

                                                 17         “The burden of showing inadequacy of representation is ‘minimal’ and satisfied if the

                                                 18 applicant can demonstrate that representation of its interests ‘may be’ inadequate.” Citizens for
                                                 19 Balanced Use v. Mont. Wilderness Ass'n, 647 F.3d 893, 898 (9th Cir. 2011). The court examines
                                                 20 three factors: “(1) whether the interest of a present party is such that it will undoubtedly make all of a
                                                 21 proposed intervenor's arguments; (2) whether the present party is capable and willing to make such
                                                 22 arguments; and (3) whether a proposed intervenor would offer any necessary elements to the
                                                 23 proceeding that other parties would neglect.” Id. The most important factor is the similarity (or lack
                                                 24 thereof) between the interest of the proposed intervenor and that of the existing parties. Id.
                                                 25         Proposed Intervenors’ interests are not adequately represented by the existing parties. As

                                                 26 discussed above, many of Nevada’s requirements for initiative petitions are not enforced by the
                                                 27 Secretary of State, the county elections officials, or any other governmental entity. Instead,
                                                 28 monitoring and challenges to the legal sufficiency of petitions is largely left up to private parties.

                                                                                                           8
                                                       Case 3:20-cv-00271-MMD-WGC Document 15 Filed 05/13/20 Page 9 of 14




                                                  1         To illustrate, the county election officials verify signatures by comparing the signature on the
                                                  2 petition to the signature in the voter registration file. NRS 293.1277(5). If a large number of
                                                  3 signatures are turned in to that county, a statistical sampling method is used to extrapolate the number
                                                  4 of valid signatures based on a random sample. NRS 293.1279. Thus, even though the counties
                                                  5 “verify” the signatures, often not every signature is examined. It is possible that a large number of
                                                  6 invalid signatures slip through the cracks.
                                                  7         There can also be errors in the verification process itself, which leads to incorrect sufficiency
                                                  8 determinations. For example, a county might count as valid a particular signature that is randomly
                                                  9 drawn, even though there is a defect in the document itself, rendering all the signatures on that
                                                 10 document invalid. See Las Vegas Convention & Visitors Auth. v. Miller, 124 Nev. 669, 689-90, 191
                                                 11 P.3d 1138, 1151 (2008) (holding that it is appropriate to strike all the signatures on a document that
                                                 12 contains a defective circulator affidavit).
                                                 13         Additionally, many problems are not apparent to the officials verifying signatures, and would
                    123 W. Nye Lane, Suite 478
BENSON LAW NEVADA

                      Carson City, NV 89706




                                                 14 never be corrected if not for a party like Rev. Jackson or NRA PAC investigating and challenging
                          (775) 884-0838




                                                 15 them. For example, in Taxpayers for the Prot. of Nev. Jobs v. Arena Initiative Comm., a private party
                                                 16 opposing the petition filed a challenge asserting, among other things, that many of the signatures
                                                 17 were invalid because the circulators did not personally circulate the petition, as required by NRS
                                                 18 295.0575. Even though the county officials had deemed the signatures on those documents valid, the
                                                 19 district court invalidated them in light of the evidence the plaintiff produced that in fact the
                                                 20 documents were not personally circulated. Nev. Sup. Ct. Nos. 57157, 58350, 2012 Nev. Unpub.
                                                 21 LEXIS 1101, at *3 (Aug. 1, 2012). The circulators had lied on their affidavits, but the clerks had no
                                                 22 way of knowing about that fraud, and therefore it was not caught during the signature verification
                                                 23 process.
                                                 24         Proposed Intervenors also overcome any presumption that the existing government defendants
                                                 25 adequately represent their rights. Cf. City of L.A., 288 F.3d at 402. The interests and objectives of
                                                 26 Proposed Intervenors and the existing Defendants diverge because Proposed Intervenors are seeking
                                                 27 to preserve their right and practical ability to challenge invalid petitions or invalid signatures through
                                                 28 a process that is never used by the election officials, and could very well be adverse to the election

                                                                                                          9
                                                       Case 3:20-cv-00271-MMD-WGC Document 15 Filed 05/13/20 Page 10 of 14




                                                  1 officials. The interests of Proposed Intervenors and the election officials are different because the
                                                  2 election officials are primarily seeking to ensure that ballots are prepared in time for distribution to
                                                  3 voters. They do not have any interest in the merits of any ballot measure. Voters in general comprise
                                                  4 the constituency that the election officials represent. The election officials are not charged with
                                                  5 representing Proposed Intervenors’ interests because, as explained above, it is private parties, not the
                                                  6 election officials, who must bring a challenge to ensure compliance with numerous requirements for
                                                  7 initiatives.
                                                  8         Because of these divergent interests, the existing Defendants will not make all of the same
                                                  9 arguments that Proposed Intervenors will make. Nor do the existing Defendants have the knowledge
                                                 10 and experience of the boots-on-the-ground signature collection process that is necessary to support,
                                                 11 factually and legally, Proposed Intervenors’ arguments regarding why electronic signature gathering
                                                 12 and other relief Plaintiffs request is likely to lead to errors and fraud. Thus Proposed Intervenors can
                                                 13 provide necessary input and argument regarding the important role that Nevada law grants to private
                    123 W. Nye Lane, Suite 478
BENSON LAW NEVADA




                                                 14 parties to ensure the integrity of Nevada’s initiative process.
                      Carson City, NV 89706
                          (775) 884-0838




                                                 15         For these reasons, Proposed Intervenors should be granted intervention as a matter of right,
                                                 16 pursuant to FRCP 24(a).
                                                 17      B. Alternatively, Proposed Intervenors should be granted permissive intervention.
                                                 18          Alternatively, if the Court finds that Proposed Intervenors are not entitled to intervene as a
                                                 19 matter of right, it should grant Proposed Intervenors permissive intervention.
                                                 20          Under FRCP 24(b), the court “may permit anyone to intervene who . . . (B) has a claim or
                                                 21 defense that shares with the main action a common question of law or fact.” Blum v. Merrill Lynch
                                                 22 Pierce Fenner & Smith Inc., 712 F.3d 1349, 1353 (9th Cir. 2013) (quoting Fed. R. Civ. P. 24(b)(1)).
                                                 23 Generally, permissive intervention under Rule 24(b) should be allowed where: (1) there is an
                                                 24 independent ground for jurisdiction; (2) the motion is timely; and (3) “a common question of law and
                                                 25 fact between the movant's claim or defense and the main action.” Id. The requirement for an
                                                 26 independent ground for jurisdiction does not apply in federal question cases where jurisdiction is
                                                 27 predicated on the plaintiff’s claims and the defendant is not bringing any additional claims. Freedom
                                                 28 from Religion Found., Inc. v. Geithner, 644 F.3d 836, 844 (9th Cir. 2011).

                                                                                                         10
                                                       Case 3:20-cv-00271-MMD-WGC Document 15 Filed 05/13/20 Page 11 of 14




                                                  1         The remaining two prongs of the test are easily met in this case. First, as discussed above, this
                                                  2 Motion is timely. Second, there are common questions of law and fact between the Plaintiffs’ claims
                                                  3 and Proposed Intervenors’ defenses. Common questions of law include whether Nevada law allows
                                                  4 using electronic signatures to sign an initiative petition and whether strict scrutiny or Andersen-
                                                  5 Burdick balancing applies to Plaintiff’s First Amendment claims. Common questions of fact include
                                                  6 whether Plaintiffs have made reasonable efforts to circulate their petition, and whether it is
                                                  7 technologically feasible to use electronic signatures, among other things.
                                                  8         Granting intervention in this case will not unduly delay or prejudice any party. Proposed
                                                  9 Intervenors have acted swiftly to intervene. Their proposed Opposition to Plaintiffs’ Motion for
                                                 10 Preliminary Injunction is attached as an exhibit to this Motion, and therefore is in compliance with
                                                 11 the Court’s order expediting briefing.
                                                 12         Finally, judicial economy favors granting intervention. If Proposed Intervenors are not able to
                                                 13 intervene in this case, they would likely be forced to bring a separate action to protect their interests.
                    123 W. Nye Lane, Suite 478
BENSON LAW NEVADA

                      Carson City, NV 89706




                                                 14 That action would involve many of the same issues and therefore it would be a waste of judicial
                          (775) 884-0838




                                                 15 resources compared to intervention.
                                                 16                                              V. CONCLUSION
                                                 17          Rev. Jackson and NRA PAC respectfully request that this Court grant their request to
                                                 18 intervene as defendants as a matter of right. Alternatively, they request that this Court grant them
                                                 19 permissive intervention.
                                                 20          Dated this   13th   day of May, 2020.
                                                 21                                                BENSON LAW, LLC
                                                 22
                                                 23                                                By:
                                                                                                           KEVIN BENSON, ESQ.
                                                 24
                                                                                                           Nevada State Bar No. 9970
                                                 25                                                        123 W. Nye Lane, Suite #487
                                                                                                           Carson City, NV 89706
                                                 26                                                        Telephone: (775) 884-0838
                                                                                                           Email: kevin@bensonlawnv.com
                                                 27
                                                 28

                                                                                                         11
                                                       Case 3:20-cv-00271-MMD-WGC Document 15 Filed 05/13/20 Page 12 of 14




                                                  1                                         CERTIFICATE OF SERVICE
                                                  2          Pursuant to NRCP Rule 5(b), I hereby certify that I am an employee of Benson Law, LLC,

                                                  3 and that on this date, I caused the foregoing Motion to Intervene to be served to all parties to this
                                                  4 action by:
                                                  5                  Placing a true copy thereof in a sealed postage prepaid envelope in the United States
                                                                          Mail in Carson City, Nevada [NRCP 5(b)(2)(B)]
                                                  6
                                                                     Hand-delivery - via Reno/Carson Messenger Service [NRCP 5(b)(2)(A)]
                                                  7
                                                                     Facsimile
                                                  8
                                                                     E-Mail, pursuant to consent to electronic service [NRCP 5(b)(2)(D)]
                                                  9                  Federal Express, UPS, or other overnight delivery
                                                 10                  E-filing pursuant to Section IV of District of Nevada Electronic Filing Procedures
                                                                           [NRCP 5(b)(2)(D)]
                                                 11
                                                       X             E-filing through the federal courts’ CM / ECF filing and service system.
                                                 12
                                                 13 as follows:
                    123 W. Nye Lane, Suite 478
BENSON LAW NEVADA

                      Carson City, NV 89706




                                                 14
                                                             Adam D. Hosmer-Henner, Esq. (NSBN 12779)
                          (775) 884-0838




                                                 15          Lucas Foletta, Esq. (NSBN 12154)
                                                             McDONALD CARANO LLP
                                                 16          100 W. Liberty, 10th Floor
                                                             Reno, NV 89501
                                                             Attorneys for Plaintiffs
                                                 17
                                                             Greg Zunino
                                                 18          Craig Newby
                                                             Office of the Attorney General
                                                 19          100 N. Carson Street
                                                             Carson City, Nevada 89701
                                                 20          Attorneys for Defendant Secretary of State
                                                 21          Herbert B. Kaplan
                                                             One South Sierra Street
                                                 22          Reno, NV 89501
                                                             Attorney for Defendant Spikula
                                                 23
                                                             Marquis AurbachCoffing
                                                 24          Craig R. Anderson, Esq.
                                                             Brian R. Hardy, Esq.
                                                 25          10001 Park Run Drive
                                                             Las Vegas, Nevada 89145
                                                 26          Attorneys for Defendants Jakeman, Sullivan, Donaldson, Stevens, Baldwin, Merlino, Spero,
                                                             Lewis, Rothery, Elgan, Lloyd, Hoehne, Nepper, and Bryan
                                                 27          (collectively the “Rural County Defendants”)

                                                 28

                                                                                                          12
                                                      Case 3:20-cv-00271-MMD-WGC Document 15 Filed 05/13/20 Page 13 of 14



                                                          Dated:    May 13, 2020     .
                                                  1
                                                  2
                                                                                            ____________________________________
                                                  3                                             An employee of Benson Law, LLC
                                                  4
                                                  5
                                                  6
                                                  7
                                                  8
                                                  9
                                                 10
                                                 11
                                                 12
                                                 13
                    123 W. Nye Lane, Suite 478
BENSON LAW NEVADA

                      Carson City, NV 89706




                                                 14
                          (775) 884-0838




                                                 15
                                                 16
                                                 17
                                                 18
                                                 19
                                                 20
                                                 21
                                                 22
                                                 23
                                                 24
                                                 25
                                                 26
                                                 27
                                                 28

                                                                                           13
                                                      Case 3:20-cv-00271-MMD-WGC Document 15 Filed 05/13/20 Page 14 of 14




                                                  1                                     INDEX OF EXHIBITS
                                                  2    Exhibit 1      Declaration of Virginia Valentine
                                                  3    Exhibit 2      Declaration of Rev. Leonard Jackson

                                                  4    Exhibit 3      (Proposed) Intervenors’ Opposition to Motion for Preliminary Injunction

                                                  5
                                                  6
                                                  7
                                                  8
                                                  9
                                                 10
                                                 11
                                                 12
                                                 13
                    123 W. Nye Lane, Suite 478
BENSON LAW NEVADA

                      Carson City, NV 89706




                                                 14
                          (775) 884-0838




                                                 15
                                                 16
                                                 17
                                                 18
                                                 19
                                                 20
                                                 21
                                                 22
                                                 23
                                                 24
                                                 25
                                                 26
                                                 27
                                                 28

                                                                                                14
